                               Case 3:22-cv-04669-RS Document 13-4 Filed 08/16/22 Page 1 of 1
U.S. Department of Justice                                                                                  PROCESS RECEIPT AND RETURN
United States Marshals Service                                                                             See "Instructions for Service of Process by U.S. Marshal"

 PLAINTIFF                                                                                                                  COURT CASE NUMBER
                Denis Blaike et al                                                                                          22-cv-04669 RS
 DEFENDANT                                                                                                                  TYPE OF PROCESS
                Dina El Tiwansy et al                                                                                       Complaint, summons & Orders



                     {
                           NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
        SERVE                California Highway Patrol, Marin Division
           AT              ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)
                             53 San Clemente Drive, Corte Madera, CA 94925
 SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW                                                         Number of process to be
                                                                                                                            served with this Form 285              4
 Denis Blaike                                                                                                               Number of parties to be
 San Rafael General Delivery                                                                                                served in this case                    14
 San Rafael, CA 94901-9999                                                                                                  Check for service
                                                                                                                            on U.S.A.
 SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
 All Telephone Numbers, and Estimated Times Available for Service):




 Signature of Attorney other Originator requesting service on behalf of:                                   TELEPHONE NUMBER                      DATE
                                                                                    PLAINTIFF
                                                                                    DEFENDANT
                                                                                                            415-522-2000                         8/16/2022
                        SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
 I acknowledge receipt for the total    Total Process    District of       District to    Signature of Authorized USMS Deputy or Clerk                      Date
 number of process indicated.                            Origin            Serve
 (Sign only for USM 285 if more
 than one USM 285 is submitted)                          No.               No.

 I hereby certify and return that I   have personally served ,     have legal evidence of service,     have executed as shown in "Remarks", the process described on the
 individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.
     I hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)
 Name and title of individual served (if not shown above)                                                                   Date                 Time                      am
                                                                                                                                                                           pm

 Address (complete only different than shown above)                                                                         Signature of U.S. Marshal or Deputy




                                                                  Costs shown on attached USMS Cost Sheet >>
 REMARKS




                                                                                                                                                                  Form USM-285
                                                                                                                                                                      Rev. 03/21
